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                                  IN THE UNITED STATES DISTRlCT COURT
                                 FOR THE NORTHERN DISTRlCT OF GEORGIA
                                           ATLANTA DIVISION


              ALBERT JOHNSON,

                    Plaintiff,

              v.                                              CIVIL CASE NO.
                                                              1 : 16-CV-4462-MHC-LTW



              INTERNATIONAL BUSINESS
              MACHINES CORPORATION,


                    Defendant.


                                                     ORDER

                      This case is presentlybefore the Court on the Motion to Withdraw byPlaintiffs

             counsel, Robert McDonald.       (Doc. 23).   On November 29, 2017, this Court held a

             telephone conference to address counsel's motion. Plaintiff Albert Johnson and Robert

             McDonald appeared telephonically for the call.      After having heard from both Mr.

             Johnson and Mr. McDonald, the Motion to Withdraw is DENIED at this time, with

             leave for counsel to refile the motion if the current disputes cannot be resolved. (Doc.




                                                 � CJ U(a!/,
             23).

                      This   .;1 1dayof Novemb

                                                  IND T   ALKER
                                                 UNITED STATES MAGISTRATE JUDGE




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(Rev.8/82)
